
402 Pa. 211 (1961)
Tripp Estate.
Supreme Court of Pennsylvania.
Argued November 16, 1960.
January 4, 1961.
Before JONES, C.J., BELL, MUSMANNO, JONES, COHEN, BOK and EAGEN, JJ.
James Lenahan Brown, with him Joseph B. Farrell, Robert J. Hourigan, and Flood, Brown, Hourigan &amp; Farrell, for appellant.
Ivo V. Giannini, with him Donald O. Coughlin, and Arthur L. Piccone, for appellee.
OPINION PER CURIAM, January 4, 1961:
Deree affirmed. Costs on appellant.
